        Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 1 of 10



                 IN THE UNITED STATES DISTRICT COURT

                 FOR THE NORTHERN DISTRICT OF GEORGIA

                              ATLANTA DIVISION


LUZ PHYSCO,                        *
                                   *
     Plaintiff,                    *
                                   *        CIVIL ACTION FILE NO.
     v.                            *
                                   *
WALMART INC.,                      *
WALMART SUPERCENTER #548,          *
AND JOHN DOE,                      *
                                   *
     Defendants.                   *

                           COMPLAINT FOR DAMAGES

     COMES     NOW,     LUZ   PHYSCO,       hereinafter   referred      to   as

“Plaintiff”, by and through her undersigned counsel, and files

this complaint, showing the court as follows:


                      PARTIES, VENUE AND JURISDICTION

                                       1.

     Plaintiff is a resident of the State of Georgia and has been

a resident of the State of Georgia at all times relevant to this

case.

                                       2.

     Defendant WALMART INC. is a foreign corporation registered to

do business and doing business in the state of Georgia and is

subject to the jurisdiction and venue of this Court. Service of

process may be perfected upon this Defendant through its registered
         Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 2 of 10



agent:    The   Corporation      Company    (FL),   112   North    Main   Street,

Cumming, Georgia, 30040.

                                       3.

     Defendant WALMART SUPERCENTER #548 is a domestic corporation

registered to do business and doing business in the state of

Georgia is subject to the jurisdiction and venue of this Court.

Service of process may be perfected upon this Defendant at 630

Collins Hill Road, Lawrenceville, Georgia 30046.

                                      4.
     Defendant, JOHN DOE, is the unknown and unidentified store

supervisor      who   may   be   partially    responsible    for    Plaintiff’s

injuries. Service of process may be perfected upon this Defendant

at 630 Collins Hill Road, Lawrenceville, Georgia 30046.

                                       5.

     Defendants are subject to the jurisdiction of this Court.

                                       6.

     This Court has jurisdiction over the subject matter of this

action.

                                       7.

     Venue is proper in this Court.




                                      -2-
      Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 3 of 10



                              BACKGROUND

                                   8.

     On or about July 21, 2019, Plaintiff was an invitee at the

Defendant’s Corporation, Walmart Supercenter #548, located at 630

Collins Hill Road, Lawrenceville, Georgia 30046.

                                   9.

     Defendants had ownership, possession and control over the

facility at all times relevant to this litigation.

                                  10.

      Plaintiff was walking in an open area permitted to patrons

of the facility at all relevant times when she slipped on what she

believes was oil.

                                  11.

     Plaintiff slipped and fell backwards.

                                  12.

     There were no cones or other warnings in the area indicating

potentially hazardous conditions.

                                  13.

     As a result of Plaintiff’s fall, she suffered injuries to her

lower back, legs, and hips.




                                  -3-
      Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 4 of 10



                                  14.

     Plaintiff suffered severe pain and suffering as a result of

the fall.

                                  15.

     Plaintiff incurred medical expenses for treatment of her

injuries in the amount of at least $190,138.02.

                                  16.

     Plaintiff will continue to suffer both general and special

damages in the future, including expenses for future medical

treatment and future pain and suffering, past and future wage loss,

the exact amount to be proven at trial.

                                COUNT I

                 NEGLIGENT MAINTENANCE OF PREMISES

                                  17.

     Plaintiff re-alleges and adopts all allegations contained in

the foregoing paragraphs as if set forth in their entirety herein.

                                  18.

     Defendants had actual or constructive knowledge of the carpet

mat that had frayed and upturned corners creating a hazardous

condition for patrons of Defendant’s store, including Plaintiff.




                                  -4-
      Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 5 of 10



                                    19.

     Plaintiff had no knowledge of the hazardous condition of the

floor, despite Plaintiff’s exercise of ordinary care.

                                    20.

     Defendants’   knowledge   of    the   hazardous   condition   of   the

premises was superior to that of Plaintiff.

                                    21.

     Defendants owed a non-delegable duty of reasonable care in

keeping the premises safe for invitees such as Plaintiff.

                                    22.

     Defendants were negligent in failing to properly inspect the

area where the fall occurred, in failing to prevent the hazard

from the employee, in failing to take adequate measures to protect

invitees from hazards and other objects on the premises and in

failing to keep the premises safe for invitees.

                                    23.

     Defendants were negligent in failing to warn Plaintiff of the

hazardous condition of the premises.

                                    24.

     Defendants’ negligence was the proximate cause of Plaintiff’s

injuries.




                                    -5-
        Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 6 of 10



                                    COUNT II

                            VICARIOUS LIABILITY

                                      25.

     Plaintiff re-alleges and adopts all allegations contained in

the foregoing paragraphs as if set forth in their entirety herein.

                                      26.

     At   all   times     relevant    to    this   action,   the   individuals

responsible     for    inspecting     and    maintaining     the   area   where

Plaintiff slipped were employed by Defendant and were acting within

the scope of their employment.

                                      27.

     Defendant Walmart Inc., is responsible for the conduct of

these   individuals     under   the   doctrine     of   respondeat   superior,

vicarious liability, agency or apparent agency.


                                 COUNT III

                      NEGLIGENT TRAINING & SUPERVISION

                                      28.

     Plaintiff re-alleges and adopts all allegations contained in

the foregoing paragraphs as if set forth in their entirety herein.




                                      -6-
      Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 7 of 10



                                      29.

     Defendants were negligent in failing to adopt appropriate

policies and procedures to ensure that appropriate inspections and

maintenance were performed on the premises and in failing to train

its employees concerning safety procedures for inspecting and

maintaining the premises.

                                      30.

     Defendant Walmart Supercenter #548 was negligent in training

and supervising its staff.

                                      31.

     As   a   result      of   Defendants’     negligence   in   training   and

supervising its employees, Plaintiff was injured on the premises.

                                    COUNT IV

                          UNLIQUIDATED DAMAGES ACT

                                      32.

     Plaintiff re-alleges and adopt all allegations contained in

the foregoing paragraphs as if set forth in their entirety herein.

                                      33.

     Defendants have acted in bad faith, have                been stubbornly

litigious,    and   has    caused   Plaintiff     unnecessary    trouble    and

expense by forcing Plaintiff to resort to the use of the court

system in order to resolve this claim when there is no bona fide


                                      -7-
      Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 8 of 10



controversy. Accordingly, Plaintiff seeks attorney's fees and

expenses of litigation pursuant to O.C.G.A. § 13-6-11, O.C.G.A. §

9-15-14, and O.C.G.A. § 33-4-6.

                                  34.

     As a direct and proximate result of Defendants’ negligence,

Plaintiff has incurred damages including but not limited to medical

expenses for treatment of her injuries, pain, emotional distress

and general inconvenience.

                                  35.

     By engaging in the above-described conduct, Defendants acted

in an intentional, malicious, fraudulent, willful, and wanton

manner, evincing such an entire want of care as to raise the

presumption of a conscious indifference to the consequences, and

the conduct of the Defendants is so aggravating as to warrant,

justify, and demand the imposition of punitive damages pursuant to

O.C.G.A. §51-12-5.1 to penalize and punish Defendants for the

misconduct   and   to   deter   Defendants    from   engaging    in   such

aggravating conduct in the future. Plaintiff hereby specifically

pleads for the imposition of punitive damages.

                                  36.

     WHEREFORE, Plaintiff prays for judgment against Defendants in

the following particulars:


                                  -8-
 Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 9 of 10



a)   Plaintiff be awarded general damages to fully compensate

     her for her pain and suffering, wage loss, and other

     human losses in an amount to be determined at trial;

b)   Plaintiff be awarded special damages in an amount of at

     least $190,138.02 the exact amount to be proven at trial

     to fully compensate her for her medical bills;

c)   Plaintiff be awarded special damages in an exact amount

     to be proven at trial to fully compensate her for her

     medical expenses;

d)   Plaintiff be awarded special damages in the exact amount

     to proven at trial to fully compensate her for her past

     and future pain and suffering;

e)   Plaintiff be awarded special damages of attorney fees as

     Defendant has acted in bad faith, under O.C.G.A. § 9-

     15-14 as well as O.C.G.A. § 33-4-6;

f)   Plaintiff be granted a jury panel of twelve (12) from

     which to select a jury of six pursuant to O.C.G.A § 15-

     12-122;

g)   Process be issued requiring the Defendant to answer

     according to law;

h)   Plaintiff be granted such further and other relief as is

     just and proper


                             -9-
          Case 1:21-cv-02219-JPB Document 1 Filed 05/27/21 Page 10 of 10



  Respectfully submitted this 26th day of May, 2021.


                                      BADER SCOTT INJURY LAWYERS




                                      Jonathan Rosenburg
                                      Georgia Bar # 274204
                                      David Byrd
Bader Scott Injury Lawyers            Georgia Bar # 974073
3384 Peachtree Road, N.E.             Attorneys for Plaintiff
Suite 500
Atlanta, GA 30326
Phone: 404 888-8888
Fax: 404 953-7744
jonathanrosenburg@baderscott.com




                                      - 10 -
